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DNJ-Cr-021 (09/2017)




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



  UNITED STATES OF AMERICA
                                             Criminal No. 2:17-CR-00279-MCA-1
                        v.

                                             SENTENCING SUBMISSION NOTICE
                                             OF DEFENDANT
  JUN SHEN

                   Defendant(s).




        Please be advised that, on this date, defendant JUN SHEN

submitted sentencing materials to the Court in this case.




Date: October 10, 2019



                                       By:     s/ Gary L. Cutler
                                               Gary L. Cutler
